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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                               Richmond Division
____________________________________
                                     )
TRUSTEES OF THE PLUMBERS             )
AND STEAMFITTERS UNION               )
LOCAL NO. 10 APPRENTICESHIP          )
FUND,                                )
                                     )
            Plaintiff,               )
                                     )
v.                                   )    Civil Action No.: 3:24-cv-00180
                                     )
                                     )
VICTORIA NAPKY,                      )
                                     )
            Defendant.               )
____________________________________)

                    REPLY IN SUPPORT OF DEFENDANT’S
            MOTION TO DISMISS PLAINTIFF’S AMENDED COMPLAINT

       Defendant, Victoria Napky (“Defendant” or “Ms. Napky”), by counsel and pursuant to

Fed. R. Civ. P. 12(b)(6) and 12(b)(1), and Local Rule 7(F) of the Rules of the Eastern District of

Virginia, in further support of her Motion to Dismiss Plaintiff Trustees of the Plumbers and

Steamfitters Local No. 10 Apprenticeship Fund’s (“Plaintiff” or the “Fund”) Amended Complaint,

submits this Reply Memorandum in response to Plaintiff’s Opposition (ECF No. 16), stating as

follows:

I.     Plaintiff’s Opposition Confirms that Plaintiff Has No Claim Under ERISA

       The crux of Plaintiff’s argument – attempting to fit its claim within the confines of ERISA

– focuses on the classification of the alleged erroneous payments at issue as “wages.” See Opp. at

3-4. Plaintiff misses the mark. Plaintiff focuses on Defendant’s alleged “characterization” of the
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compensation at issue as wages. Opp. at 3. Plaintiff, however, cherry-picks Defendant’s Motion

to Dismiss and once more “misses the point. Regardless of whether the payments are wages,

Plaintiff’s claim still fails because, as explained, ERISA ‘regulates certain relationships,’ and the

relationship between a Fund and its former employee (regardless of what the payments are called)

are not governed by ERISA.” See Def.’s Memo. (“Moving Brief”) [ECF No. 15], at 2. To be clear,

in response to Plaintiff’s red herring argument (including fn. 1 to its Opposition), Defendant does

not – and need not – rely on facts outside of the pleadings. Taking Plaintiff’s allegations as true –

that the compensation paid was not wages – Plaintiff’s claim still fails as a matter of law for two

separate, but equally dispositive, reasons.

        A.      Just as in its Amended Complaint, Plaintiff’s Opposition Fails to Allege that
                Ms. Napky Violated ERISA or the Terms of a Plan, or that it Seeks to Enforce
                any ERISA or Plan Provision, to Assert a Claim Under 29 U.S.C. §
                1132(a)(3)(B).

        As stated in Defendant’s Moving Brief, the plain language of 29 U.S.C. § 1132(a)(3)(B)

establishes the parameters of Plaintiff’s alleged cause of action: “a civil action may be brought . .

. by a participant, beneficiary, or fiduciary (A) to enjoin any act or practice which violates any

provision of this title or the terms of the plan, or (B) to obtain other appropriate equitable relief

(i) to redress such violations or (ii) to enforce any provisions of this title or the terms of the plan.”

See Moving Brief at 7 (emphasis added). As a threshold matter, regardless of whether Plaintiff has

pleaded any obligations arising out of ERISA or the Plan (inclusive of its Trust Agreement), what

is missing from Plaintiff’s Amended Complaint and its argument is any allegation that Ms.

Napky’s actions violated ERISA or the terms of any Plan or, separately, that the Fund seeks to

enforce the term of any ERISA or plan provision entitling it to recoupment of monies. For that

reason alone, Plaintiff’s claim fails.

        Plaintiff’s sole argument to attempt to pull Ms. Napky into ERISA’s purview is as follows:

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               the Fund’s Trust Agreement provides, inter alia, the purposes for
               which monies of the Fund may be used, viz., providing training and
               educational programs and paying reasonable and necessary
               expenses for the operation and administration of the Fund. (Am.
               Compl. ¶ 23.) The Amended Complaint also cites to ERISA’s
               requirement that plan assets be held in trust. (Am. Compl. ¶ 22.) As
               the Amended Complaint explains, Ms. Napky’s receipt of plan
               assets after terminating her employment with the Fund violates the
               terms of a governing plan document because Defendant received
               and has refused to return money that is not authorized under the
               terms of the Trust Agreement and to which Defendant has no legal
               right, a violation of which Plaintiff may enforce through Section
               502(a)(3) of ERISA.

        Opp. at 5.

        The above makes no reference to Ms. Napky’s actions; rather, it makes reference to the

Trustees’ (Plaintiff’s) actions. Defendant was never a fiduciary of the Fund, and Plaintiff’s

Amended Complaint does not allege – nor can it – that Ms. Napky had any “discretionary controls

over assets of the plan” because she did not. See Am. Compl. ¶ 12 (Defendant hired to “assist the

Fund’s Training Director in the office”). 1 Plaintiff does not – and cannot – point to any decision

in which a person who did not violate ERISA or a Plan, or had any obligation arising from a Plan

or ERISA, was subject to its enforcement proceedings.2 Moreover, while the Trust Agreement may

provide the “purposes for which monies of the Fund may be used, viz., providing training and

educational programs and paying reasonable and necessary expenses for the operation and

administration of the Fund,” Plaintiff has not pled (because it cannot) that the Trust Agreement or




1
  As explained below, not every payment by a Fund implicates ERISA. These payments – as
admitted throughout Plaintiff’s Amended Complaint – have nothing to do with benefits or a plan
at all. Instead, they are simply related to the Fund operating as a business.
2
  Instead, taking the Amended Complaint as true, it is the Plaintiff alone that has obligations under
the Trust Agreement and Plan. As an employee – or former employee – of the Fund, Ms. Napky
has no obligations related to the Trust Agreement or Plan; and Plaintiff does not plead any in its
Amended Complaint.
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any other Plan document permits recoupment of payments not used for those purposes. That is

what it would take to for Plaintiff to be able to seek payment through ERISA’s enforcement

provision.

       In fact, Defendant does not cite a single case in support of its argument, other than a

decision supporting its proposition that the Trust Agreement can be a “plan document.” Opp. at 5

(citing Mull ex rel. Mull v. Motion Picture Indus. Health Plan, 865 F.3d 1207, 1209-10 (9th Cir.

2017)). Notably, that case confirms Defendant’s position – not Plaintiff’s. There, the plan had paid

out benefits to an individual, Lenai, for injuries; but a third-party also compensated Lenai. Mull,

865 F.3d at 1208. As a result, the “Plan then instituted its overpayment procedures [pursuant to

reimbursement/recoupment provisions] to recoup $100,000 from future benefits payable to

Norman and the other beneficiaries under his policy.” Id. at 1208-09. The Board (as fiduciaries)

filed a counterclaim for “equitable relief under ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3), seeking

an equitable lien or a constructive trust to recover the $100,000 received by Lenai from the third

party.” Id. While the counterclaim was later dismissed due to bankruptcy, those facts demonstrate

the purpose of equitable relief under ERISA § 502(a)(3) as confirmed by numerous courts: “this

section allows a plan fiduciary . . . to bring claims in equity to enforce provisions of the plan, but

not claims at law.” Kolbe & Kolbe Health & Welfare Benefit Plan v. Med. Coll. of Wis., Inc., 657

F.3d 496, 502 (7th Cir. 2011). In Mull ex rel. Mull, a specific provision of the plan permitted

recoupment of the overpayment of benefits, creating an equitable lien. That is because “ERISA-

plan provisions do not create constructive trusts and equitable liens by the mere fact of their

existence; the liens and trusts are created by the agreement between the parties to deliver assets.”

Cent. States, Se. & Sw. Areas Health & Welfare Fund v. Health Special Risk, Inc., 756 F.3d 356,




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365 (5th Cir. 2014). Here, there is no agreement between the parties at issue (the Fund and Ms.

Napky) to deliver the recoupment of assets through the Plan.

        While citing no case law, Plaintiff attempts to avoid this well-settled jurisprudence by

arguing that Kolbe is inapposite. Indeed, Plaintiff summarily states that the “defects in Kolbe are

not present here . . . .” without any explanation as to how the case is distinguishable. Opp. at 5-6.

Plaintiff is flat wrong. Kolbe stands for the correct proposition that a fiduciary cannot seek to

enforce a provision of the plan when the payments at issue were not subject to ERISA or any Plan,

and, thus, the plaintiff has no entitlement to funds through the Plan. 657 F.3d 496. Again, the

payments at issue in Kolbe could not be recovered because the overpaid benefits were not to

“covered persons” under the plan – which permitted the recoupment of overpaid benefits to

covered persons. Id. at 502-03. Here, not only is there no covered person nor plan provision

permitting recoupment of the payments at issue, there is also no legal relationship between the

parties invoking any plan provision to begin with. Indeed, the Seventh Circuit did not permit

recoupment by the fiduciary in Kolbe simply because “Defendant received and has refused to

return money that is not authorized under the terms of the [Plan] and to which Defendant has no

legal right.” Opp. at 5.

        Instead, the Circuit Court correctly held that the Fund could pursue its alleged overpayment

through state law claims. Again, the facts here are even further removed, as the payments at issue

here are not even benefits or remotely subject to plan provisions or ERISA. Plaintiff simply does

not seek to enforce any term of an ERISA plan or a violation of ERISA by Ms. Napky. Instead,

“ERISA has nothing to do with this case.” Kolbe, 657 F.3d at 503. For that reason alone, Plaintiff’s

ERISA claim must be dismissed. Indeed, if Plaintiff were permitted to pursue this claim against




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Ms. Napky, it would open the flood gates to any third-party being subject to ERISA simply because

a Fund made an (alleged) mistaken payment to them. That cannot be.

       B.      Regardless of Plaintiff’s Claim that the Payments are not Wages, the Payments
               are Still Related to the Fund Operating as a Commercial Entity.

       Confirming Plaintiff’s novel theory, what is missing from Plaintiff’s Opposition is any

discussion of the numerous case decisions supporting dismissal of this action. While Plaintiff

focuses on its argument that the alleged payments are “not wages” – Plaintiff misses the point.

Regardless of whether the payments are wages or not, Plaintiff’s claim still fails because, as argued

in Defendant’s Moving Brief, ERISA “regulates certain relationships: for instance, the relationship

between plan and plan member, between plan and employer, between employer and employee (to

the extent an employee benefit plan is involved), and between plan and trustee.” Gen. Am. Life

Ins. Co. v. Castonguay, 984 F.2d 1518, 1521 (9th Cir. 1993) (citing J. Daniel Plants, Note,

Employer Recapture of ERISA Contributions Made by Mistake, 89 Mich. L. Rev. 2000, 2017

(1991)). Those relationships are not at issue here. Strategic Outsourcing, Inc. v. Commerce

Benefits Grp. Agency, 54 F. Supp. 2d 566, 573 (W.D.N.C. 1999) (“ERISA does not preempt

regulation of those relationships ‘where a plan operates just like any other commercial entity-for

instance the relationship between the plan and its own employees, or the plan and its insurers or

creditors.’” (quoting Geweke Ford v. St. Joseph’s Omni Preferred Care Inc., 130 F.3d 1355, 1360

(9th Cir. 1997)); see Def.’s Moving Brief at 7-8 (collecting cases).

       That is the case here. The Fund alleges that it employed Ms. Napky starting June 22, 2022,

to assist the Fund’s Training Director with office work. Am. Compl. ¶ 12. From August 5, 2022

until on or around February 29, 2023, the Fund alleges that it continued depositing weekly

payments into Ms. Napky’s bank account “due to an internal communication error.” Id. ¶¶ 14-15.




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Accordingly, taking the facts as true, Plaintiff’s Amended Complaint confirms that these payments

were an administrative error that resulted in continued weekly payments to Defendant. 3

        Even if the Court agrees that these payments are – somehow – not wages, they are directly

related to Defendant’s status as an employee with the Fund (i.e., the Fund operating as a business).

As such, regardless of Plaintiff’s characterization of the payments, this is an action related to the

Fund acting as a commercial entity when it submitted alleged erroneous payments (wages or

otherwise) to its former employee – a relationship not governed by ERISA. As such, for that

separate reason, Plaintiff’s claim fails as a matter of law.

II.     Plaintiff Misconstrues Supreme Court and Fourth Circuit Precedent That Confirms
        Plaintiff’s Claim is Not Equitable

        As stated in Defendant’s Moving Brief, even if Plaintiff can somehow assert that Ms.

Napky’s status as a former Fund employee invokes ERISA regulations and/or the terms of a plan,

Plaintiff can only seek equitable relief through its § 502(a)(3) claim, which it fails to do. As

required by the Supreme Court, “whether the remedy a plaintiff seeks ‘is legal or equitable depends

on [(1)] the basis for [the plaintiff’s] claim and [(2)] the nature of the underlying remedies sought.’”

Montanile v. Bd. of Trs. of the Nat’l Elevator Indus. Health Benefit Plan, 577 U.S. 136, 142 (2016)

(citing Sereboff v. Mid Atl. Med. Servs., Inc., 547 U.S. 356, 363 (2006) (internal quotation marks

omitted)); Local 109 Ret. Fund v. First Union Nat’l Bank, 57 F. App’x 139, 140 (4th Cir. 2003)




3
  To be clear, Plaintiff’s attempt to claim that the payments made in error are not wages strains
credulity. A company that continued to pay an employee after termination and seeks to recover
those payments is certainly seeking overpaid/erroneous “wages.” As stated in Defendant’s Moving
Brief, companies regularly seek the return of alleged unearned wages in state court (where this
case should be) based on the theory of unjust enrichment. See, e.g., Norfolk Cmty. Servs. Bd. v.
Berardi, 84 Va. Cir. 310, 310 (Cir. Ct. 2012) (“The employer complained that one former employee
improperly received a salary and other benefits from the time of her suspension.”). Nonetheless,
Plaintiff’s red herring argument is of no matter.
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(“Our inquiry must focus on ‘the basis for [the plaintiff’s] claim’ and the nature of the underlying

remedies sought”) (citations omitted). Plaintiff’s claim fails on both accounts.

        First, Plaintiff’s Opposition ignores the first requirement – that the basis of the claim must

be equitable. While Plaintiff claims to seek alleged restitution, which can be a form of equitable

relief, “not all relief falling under the rubric of restitution is available in equity.” Great-West Life

& Annuity Ins. Co. v. Knudson, 534 U.S. 204, 212 (2002). Here, Plaintiff’s label of “restitution”

does not suffice. 109 Ret. Fund, 57 F. App’x at 140 (“plaintiff’s decision to label his claim as one

seeking traditional forms of equitable relief is not dispositive”). As the Supreme Court has

explained, “restitution in equity typically involved enforcement of ‘a constructive trust or an

equitable lien, where money or property identified as belonging in good conscience to the plaintiff

could clearly be traced to particular funds or property in the defendant’s possession.’” Montanile,

577 U.S. at 143 (quoting Knudson, 534 U.S. at 213).

        The Supreme Court decisions holding that an equitable claim has been established all deal

with constructive trusts or equitable liens – an entitlement created by the terms of a plan or ERISA

itself. See Montanile, 577 U.S. at 142-143 (discussing cases). Plaintiff ignores that part of the

analysis – simply arguing that because it can assert that Defendant was allegedly unjustly enriched

through overpayments, it can recover the compensation. Opp. at 6-7. Unlike the cases cited above,

there is no ERISA or plan provision entitling Plaintiff to the recoupment of funds – and Plaintiff

makes no such argument in its Opposition. That is because, as discussed above, Plaintiff has not

alleged (and it cannot) that an ERISA plan or provision is at issue to create such equitable

entitlement. See 109 Ret. Fund, 57 F. App’x at 140 (“Because no trust or trust relationship flows

from the certificate of deposit, the traditional equitable remedies to protect a trust, such as

accounting, restitution, and disgorgement, are not available here”); Cent. States, Se. & Sw. Areas



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Health & Welfare Fund v. Health Special Risk, Inc., 756 F.3d 356, 365 (5th Cir. 2014) (“ERISA-

plan provisions do not create constructive trusts and equitable liens by the mere fact of their

existence; the liens and trusts are created by the agreement between the parties to deliver assets.”).

For that reason alone, Plaintiff’s claim must be dismissed.

       Second, even if the basis of Plaintiff’s claim were equitable (it is not), the nature of the

remedy sought is not equitable. Plaintiff argues that its claim is equitable because (i) it identifies

the alleged assets as “post-employment, improper payments deposited in Ms. Napky’s bank

account, not her general assets,” (ii) it alleges that “the monies retained by Ms. Napky belong in

good faith to the Fund,” and (iii) “Plaintiff believes that those particular monies are still within

Defendant’s possession.” Opp. at 7 (citing Am. Compl. ¶¶ 15-17, 24-26).

       That argument misconstrues the law. “Weekly payments” is not an identifiable fund for

purposes of equitable relief. Akers v. Md. State Educ. Ass’n, 990 F.3d 375, 381-382 (4th Cir.

2021) (“Because the plaintiffs here are unable to point to any identifiable fund in the union

defendants’ possession, we follow the reasoning of the Sixth and Seventh Circuits and conclude

that, in substance, the plaintiffs’ claim for relief is a claim for damages.”). Moreover, money

deposited into Ms. Napky’s bank account immediately becomes her (or the bank’s) property – it

is not an identifiable property of Plaintiff. See, e.g., Cent. States, Se. & Sw. Areas Pension Fund

v. Rodriguez, No. 18-cv-7226, 2021 U.S. Dist. LEXIS 7052, at *14-15 (N.D. Ill. Jan. 14, 2021)

(“plaintiffs’ theory assumes the money, once deposited into the Account, remains plan assets.

Plaintiffs have not shown that assumption is correct as a matter of law. Cf. Hecker v. Deere & Co.,

556 F.3d 575, 584 (7th Cir. 2009) (once assets were ‘transferred to one of the Fidelity entities,

they become Fidelity’s assets—again, not the assets of the Plans.’); People ex rel. Russell v.

Farmers’ State & Sav. Bank of Grant Park, 338 Ill. 134, 137, 170 N.E. 236 (Ill. 1930) (‘As a rule,



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when money is deposited in a bank, title to such money passes to the bank. The bank becomes the

debtor of the depositor to the extent of the deposit, and to that extent the depositor becomes of the

creditor of the bank.’”)).

        In short, as explained, Plaintiff simply alleges that it paid Defendant certain unearned

payments into her bank account – part of her general assets. As such, Defendant does not (and

cannot) identify a specific property in possession of Defendant to which it is entitled. Montanile,

577 U.S. at 145; Conn. Gen. Life Ins. Co. v. Advanced Surgery Ctr. of Bethesda, LLC, Civil Action

No. DKC 14-2376, 2015 U.S. Dist. LEXIS 91689, at *25-26 (D. Md. July 15, 2015) (“the only

allegation supporting that the Cigna entities can specifically identify and trace plan funds is that

the ‘overpayments [at issue] are within the possession and control of the Defendants.’ [citation

omitted]. The Cigna entities have not alleged that the overpayments were kept in separate accounts

or otherwise how they are separate and distinct from the ASCs’ general assets.”) (citing Cent.

States, Se. & Sw. Areas Health & Welfare Fund, 756 F.3d at 366)).

        Accordingly, Plaintiff’s claim is one for general damages, not in equity, and Plaintiff’s

claim fails for that separate reason. 4




4
 The Second Circuit’s decision in Cent. States, Se. & Sw. Areas Health & Welfare Fund v. Gerber
Life Ins. Co., 771 F.3d 150 (2d Cir. 2014) outlines the Supreme Court precedent well. The Second
Circuit held that that the Supreme Court’s decisions have “permitted the terms of the plan to
override certain rules of equity, including the strict tracing requirements normally applicable to
equitable restitution. Both courts did so, however, only because the plan terms constituted a
contract between the parties involved in the lawsuit. All three cases involved disputes between the
plan and one of its beneficiaries. None involved the assertion of claims against a third-party . . ..”
Id. at 156. “Absent such an agreement, Central States is, in effect, seeking compensation from
Gerber’s general assets in the amount of the Common Insureds’ claims, not a right to title or
possession of particular funds or property held by Gerber that were received from, or promised to
Central States. As Great-West and its progeny teach, such relief is legal relief that is not available
under § 502(a)(3).” Id. at 157-58 (citing Great-West, 534 U.S. at 213-14).

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III.   To the Extent Plaintiff Pleads Federal and State Common Law Claims for Unjust
       Enrichment, They Must Also be Dismissed

       Plaintiff, assuming that it has alleged a valid claim under ERISA, only argues that because

it has a valid ERISA claim, it can pursue a federal common law claim for unjust enrichment and

the Court can therefore retain jurisdiction over any state law claims. As such, Defendant stands on

her prior argument as set forth in her Moving Brief. Def.’s Moving Brief at 16-19; see also

Provident Life & Accident Ins. Co. v. Cohen, 423 F.3d 413, 426 (4th Cir. 2005) (“we cannot ignore

ERISA’s proscription of the type of relief sought by Provident and permit a federal common law

remedy for unjust enrichment. That is, we cannot afford Provident the right to do that which it

cannot do under ERISA. It is simply not within the court’s purview to decide the proper balance

of rights and remedies under ERISA.”).

IV.    CONCLUSION

       As explained above, the alleged payments at issue have nothing to do with (i) ERISA or

benefits (regardless of whether they are wages or not); (ii) Ms. Napky, the Defendant, violating

ERISA or any plan provision; or (iii) the enforcement of an ERISA or plan provision entitling the

Fund to recoupment of the alleged payments made in error. In short, this is an action where the

Fund is operating as a commercial entity – nothing more. As such, given that Plaintiff has now had

a chance to amend its complaint, Defendant respectfully requests that Plaintiff’s Amended

Complaint be dismissed for failure to state a claim and that any remaining state law claims be

dismissed for lack of supplemental jurisdiction.


                                                        Respectfully Submitted,

                                                        /s/ Mark J. Passero
                                                        Mark J. Passero (VSB No. 90463)
                                                        D. Scott Laws (VSB No. 99436)
                                                        LawrenceQueen

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                               CERTIFICATE OF SERVICE

       I certify that on this 20th day of June 2024, the foregoing document was served via the

Court’s ECF system upon all counsel of record, including the following:

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